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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Traxcell Technologies, LLC

2.   All other names debtor used       aka Traxcell; aka Traxcell Technologies, LLC of Texas
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      1      –      1      3        0    9         8   2     0

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       Taxcell Technologies, LLC                                       Traxcell Technologies
                                       Number         Street                                           Number     Street
                                       c/c Jeff Reed                                                   1205 South 8th Street, #333
                                                                                                       P.O. Box
                                       11125 Pallasite Drive

                                       Lorena                              TX       76655              Waco                          TX      76076
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       McLennan                                                        from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Traxcell Technologies, LLC                                                        Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12




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Debtor Traxcell Technologies, LLC                                                         Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




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Debtor Traxcell Technologies, LLC                                                  Case number (if known)

12. Does the debtor own or             No
    have possession of any             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal               needed.
    property that needs
                                            Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                 safety.
                                                 What is the hazard?

                                                 It needs to be physically secured or protected from the weather.

                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                 attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                 related assets or other options).

                                                 Other


                                            Where is the property?
                                                                         Number      Street




                                                                         City                                       State      ZIP Code

                                            Is the property insured?

                                                 No
                                                 Yes. Insurance agency

                                                         Contact name

                                                         Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of                1-49                              1,000-5,000                         25,001-50,000
    creditors                          50-99                             5,001-10,000                        50,001-100,000
                                       100-199                           10,001-25,000                       More than 100,000
                                       200-999

15. Estimated assets                   $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                       $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                       $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                       $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities              $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                       $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                       $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                       $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




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Debtor Traxcell Technologies, LLC                                                        Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 09/19/2023
                                                      MM / DD / YYYY



                                          X /s/ Jeff Reed
                                              Signature of authorized representative of debtor
                                              Jeff Reed
                                              Printed name
                                              Owner
                                              Title

18. Signature of attorney                X /s/ Charles R. Chesnutt                                                Date   09/19/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Charles R. Chesnutt
                                            Printed name
                                            Charles Chesnutt
                                            Firm name
                                            2608 Hibernia Street
                                            Number          Street



                                            Dallas                                                     TX                 75204
                                            City                                                       State              ZIP Code


                                            (972) 248-7000                                             crc@chapter7-11.com
                                            Contact phone                                              Email address
                                            04186800                                                   TX
                                            Bar number                                                 State




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   AUSTIN DIVISION
In re Traxcell Technologies, LLC                                                                                                    Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                        $0.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $5,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                              ($5,000.00)

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   09/19/2023                         /s/ Charles R. Chesnutt
                      Date                            Charles R. Chesnutt                          Bar No. 04186800
                                                      Charles Chesnutt
                                                      2608 Hibernia Street
                                                      Dallas TX 75204
                                                      Phone: (972) 248-7000




   /s/ Jeff Reed
   Jeff Reed
   Owner
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                                        UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION
  IN RE:   Traxcell Technologies, LLC                                               CASE NO

                                                                                    CHAPTER   11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/19/2023                                          Signature   /s/ Jeff Reed
                                                                    Jeff Reed
                                                                    Owner




Date                                                    Signature
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 Debtor(s): Traxcell Technologies, LLC     Case No:                          WESTERN DISTRICT OF TEXAS
                                            Chapter: 11                                 AUSTIN DIVISION


Bank of America                          Ramey Law Firm
100 N. Tryon St.                         5020 Montrose Blvd. Suite 800
Charlotte NC                             Houston TX 77006



Cellco Parthership aka Verizon           Steven Palik
1095 Avenue of Americas                  1700 Harper Avenue
New York, N.Y.                           Redondo Beach CA 90278-2726



David Aaron Nelson                       T-Mobile USA
Quinn, Emanuel                           12920 SE 38th Street
191 N. Wacker Dr., Suite 2700            Bellevue WA
Chicago IL


Deven Dacus                              Tyler VanHoutan
The Dacus Firm                           MaguireWoods
821 ESE Loop 323, Suite 430              845 Texas Ave., Suite 2400
Tyler TX                                 Houston TX 77002


Gilbert Green
Duane Morris , LLP
900 S. Capitol of Texas Highway
Suite 300
Austin TX

Hicks Thomas, LLP
700 Louisiana St. Suite 2300
Houston TX 77002



Jacob Brown
10 St. James Avenue, 11th Floor
Boston MA



Justin R. Lowrey
MaguireWoods
800 East Canal Street
Richmond VA


Nathan Hamstra
Quinn, Emanuel
500 W. Madison St., Suite 2450
Chacago IL


Nokia of America Corporation
6000 Connection Dr.
MD E4-400
Irving TX 75039
